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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                              :          CIVIL ACTION
DAWN DUNLAP
                                              :
     v.
                                              :
                                                         No. 10-6707
NCO FINANCIAL SYSTEMS, INC.                   :




                     CANCELLATION OF ARBITRATION HEARING

             Please take note that the above-captioned civil action case currently sheduled for

ARBITRATION at 9:30 am on Wednesday, June 15, 2011, has been CANCELLED.

                                                         Michael E. Kunz
                                                         Clerk of Court



                                                         By: /s/Janet Vecchione
                                                         Janet Vecchione
                                                         Deputy Clerk
                                                         Phone:267-299-7074

Date:June 14, 2011

Copies:      Courtroom Deputy to Judge R. Barclay Surrick
             Docket Clerk - Case File

             Counsel




ARBCAN.FRM
